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COUNSEL FOR TRUSTEE

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

IN RE:                       §
                             §
MICHAEL STEPHEN GALMOR,      §                CASE NO. 18-20209-RLJ-7
                             §
      Debtor.                §
                             §
And                          §
                             §
GALMOR’S/G&G STEAM SERVICE, §                 CASE NO. 18-20210-RLJ-7
INC.,                        §
                             §
      Debtor.                §
                             §
KENT RIES, TRUSTEE,          §
                             §
      Plaintiff,             §
                             §
v.                           §                ADVERSARY NO. ____________
                             §
MICHAEL STEPHEN GALMOR,      §
RANDY MARK GALMOR, LESLIE    §
DONNETTE GALMOR PRITCHARD, §
TRACI MARIE GALMOR COLEMAN, §
GALMOR FAMILY LIMITED        §
PARTNERSHIP and GREAT PLAINS §
BANK,                        §
                             §
      Defendants.            §

                                 ORIGINAL COMPLAINT

TO THE HONORABLE ROBERT L. JONES, BANKRUPTCY JUDGE:




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       Kent Ries, Trustee in these two bankruptcy cases (“Trustee”), complains against

Defendants, Michael Stephen Galmor, Randy Mark Galmor, Leslie Donnette Galmor Pritchard,

Traci Marie Galmor Coleman, Galmor Family Limited Partnership and Great Plains Bank

(collectively “Defendants”) as follows:

                                              I.
                                           PARTIES

       1.      Defendant, Michael Stephen Galmor (“Debtor”), is an individual domiciled in

Texas and may be serviced with process through his attorney, Pat Swindell at 106 S.W. 7th

Avenue, Amarillo, Texas 79101 and/or Joe Lovell at 112 W. 8th Avenue, Suite 1000, Amarillo,

Texas 79101.

       2.      Defendant, Randy Mark Galmor (“Galmor”), is an individual domiciled in Texas

and may be serviced with process through his attorney, Todd Hatter, at 821 S.W. 9th Avenue,

Amarillo, Texas 79101.

       3.      Defendant, Leslie Donnette Galmor Pritchard (“Pritchard”), is an individual

domiciled in Texas and may be serviced with process through her attorney, Collin Wynne, at

1001 S. Harrison, Suite 200, Amarillo, Texas 79101 and/or Jeff Carruth at 3030 Matlock Rd.,

Suite 201, Arlington, Texas 76015.

       4.      Defendant, Traci Marie Galmor Coleman (“Coleman”), is an individual domiciled

in Texas and may be serviced with process through her attorney, Kenneth Netardus, Stockard,

Johnston & Brown, P.C., at 1800 Washington St., Suite 307, Amarillo, Texas 79102.

       5.      The four individuals above are collectively referred to as the “FLP Owners”.




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       6.      Defendant, Galmor Family Limited Partnership (“FLP”), is a limited partnership,

which may be served with process by serving its registered agent Michael Stephen Galmor,

referenced above.

       7.      Defendant, Great Plains Bank (“Bank”), is a Texas state charted bank, which may

be served with process by serving its attorney, Johnathan Hinders, Mullin Hoard & Brown, at

500 S. Taylor, Suite 800, Amarillo, Texas 79101.

                                              II.
                                          PROCEDURE

       8.      This is a core proceeding under 28 U.S.C. §157(b)(2)(A),(N)&(O). This is an

Adversary proceeding under Bankruptcy Rule 7001(1), (4), (7)&(9)

                                           III.
                                     BANKRUPTCY CASES

       9.      Debtors filed for relief under Chapter 11 of the United States Bankruptcy Code on

June 19, 2018 and converted to Chapter 7 cases on January 8, 2019. Kent Ries was subsequently

appointed and qualified to serve as the Trustee over the bankruptcy estates.

                                            IV.
                                       RELEVANT FACTS

       10.     The FLP owns in excess of $3,000,000.00 of real estate in the Texas panhandle.

The FLP owes the Bank approximately $600,000.00, secured by liens on some or all of the FLP

assets. The FLP owes the bankruptcy estates approximately $2,400,000.00 as an unsecured

creditor. The FLP Owners have generally agreed at a mediation on June 11, 2019 to liquidate the

FLP assets, to pay all its claims and distribute the equity to themselves as the owners of the FLP.

       11.     A closing set for August 28, 2019 of two tracts of FLP real estate, sufficient in

value to pay off the Bank, has failed to occur due to a variety of family issues. The family has


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been engaged in multiple lawsuits in the past few years, including a probate contest, management

of entity dispute and an adversary proceeding in the bankruptcy case. The closing was timed to

precede a foreclosure set by the Bank for Tuesday, September 3, 2019.

                                              V.
                                   COUNT 1 - SUIT ON DEBT

       12.       According to the sworn schedules of Michael Stephens Galmor, Schedule B,

Number 30 the FLP is indebted to his bankruptcy Estate in the total amount of $1,310,807.00.

       13.       According to the sworn schedules of Galmor’s/G&G Steam Service, Inc.,

Schedule B, Number 74 the FLP is indebted to its bankruptcy Estate in the total amount of

$1,096,051.32.

       14.     The Trustee is entitled to a judgment for each respective Estate for these amounts

owed. The Trustee is also entitled to legal fees, interest and court costs incurred in the collection of

these debts.

       15.     Both sets of sworn schedules described above were signed under penalty of perjury

by Michael Stephen Galmor. Michael Stephen Galmor is the only party who can speak on behalf of

the FLP as its management. Therefore, the Trustee asserts that the FLP is barred by principles of

res judicata and collateral estoppel from disputing this debt owed to the bankruptcy Estates

                                         VI.
                          COUNT 2 - MANAGEMENT OF THE FLP

       16.       The FLP is currently being managed by the Debtor. That has been the case since

his father’s death on April 3, 2013. The Trustee believes it is in the best interest of all parties

that the Debtor continues in this role. The FLP has operational and financial responsibilities that

the Debtor is familiar with and capable of performing.           The Debtor should be reasonably

compensated by the FLP for his efforts in performing these functions.

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       17.     However, the Trustee is requesting that the Debtor be required to obtain the

Trustee’s consent to sell any assets in excess of $4,000.00 in value or to incur any debt in excess

of $2,000.00. Further, the Trustee is requesting this Court grant the Trustee the authority to sell

any or all of the FLP assets, subject to Court approval, after notice to the parties in this adversary,

as generally outlined in Bankruptcy Code § 363. Finally, the Trustee is requesting this Court grant

the Trustee authority to sign all documents necessary to close any such sales.

                                              VI.
                                    COUNT 3 - INJUNCTION

       18.     The FLP real estate closing scheduled for August 28, 2019 has not occurred and

may not occur without this Court’s intervention. The Bankruptcy foreclosure set for next Tuesday,

September 3, 2019, is likely to significantly, and negatively, affect the value of multiple FLP assets.

The Bank is entitled to full payment of its over secured debt. The Bank has also been exceptionally

patient with the FLP Owners during the course of all their family litigation. The Trustee wants to

pay the Bank’s debt in full as soon as possible.

       19.     However, to protect the value of the FLP assets, which would directly affect the

ability of the FLP to pay the debt it owes to the Bankruptcy Estates, the Trustee is requesting a stay

of the September 3, 2019 foreclosure. The Trustee seeks no affirmative claims against the Bank.

       20.     The Bank has agreed in principle to an injunction. The Trustee and the Bank will

work towards a permanent resolution that includes granting the Trustee authority to sell FLP assets

and direct full payment towards the Bank’s debt.

       WHEREFORE, PREMISES CONSIDERED, the Trustee, respectfully requests this

 Court grant relief consistent with the above claims, and for such other and further relief this

 Court deems is just and proper.


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                                      Respectfully submitted,


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                                      By: /s/ Kent Ries
                                         Kent Ries
                                         State Bar No. 16914050

                                      COUNSEL FOR TRUSTEE




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